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                       DECLARATION OF ALEC KARAKATSANIS

       1)      My name is Alec Karakatsanis and, on behalf of Civil Rights Corps, I am one of

the counsel for the named Plaintiff and the putative Class members in this case. I submit this

Declaration in support of the motion for class action treatment.

       2)      I am the Founder and Executive Director of Civil Rights Corps, a non-profit civil

rights organization based in Washington, D.C.

       3)      Prior to starting Civil Rights Corps, I co-founded Equal Justice Under Law, a

non-profit civil rights organization based in Washington, D.C. Prior to this, I served as an

attorney in the Special Litigation Division of the Public Defender Service for the District of

Columbia, where I litigated constitutional civil rights claims and complex criminal law issues in

federal and District of Columbia trial and appellate courts. Prior to that, I served as a law clerk

in the United States District Court for the Middle District of Alabama and as an Assistant Federal

Public Defender in the Middle District of Alabama.

       4)      I have been involved in extensive litigation related to bail systems in jurisdictions

across the country. In the process, I have studied the way that these systems function in other

cities and counties in order to investigate the wide array of reasonable constitutional options in

practice for courts. As a result, I have devoted substantial resources to becoming intimately

familiar with the “bail schedule” scheme and with all of the relevant state and federal laws and

procedures that relate to it. I have studied the way that these poverty-based post-arrest detention

systems function in other cities and counties in order to investigate the wide array of reasonable

constitutional options in practice for local governments like Randolph County. I have therefore

devoted significant time and resources to becoming familiar with the County’s scheme and with

all of the relevant state and federal laws and procedures that can and should govern it.



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         5)       I have been lead attorney in a number of recent constitutional civil rights class

action lawsuits raising similar issues, including two in this District. See, e.g., Jones on behalf of

Varden v. City of Clanton, 2015 WL 5387219 (M.D. Ala. 2015); Cooper v. City of Dothan, 2015

WL 10013003 (M.D. Ala. 2015); see also ODonnell v. Harris Cty., 2017 WL 1735456, at *3

(S.D. Tex. Apr. 28, 2017); Pierce et al. v. City of Velda City, 2015 WL 10013006 (E.D. Mo.

2015); Walker v. City of Calhoun, --- F. Supp. 3d ---, 2016 WL 361612 (N.D. Ga. Jan. 28, 2016);

Rodriguez v. Providence Community Corrections, Inc., --- F. Supp. 3d ---, 2015 WL 9239821

(M.D. Tenn. 2015); Snow v. Lambert, 2015 WL 5071981 (M.D. La. 2015); Thompson v. City of

Moss Point, 2015 WL 10322003 (S.D. Miss. 2015) (same). I have also been involved in similar

challenges in Illinois, Massachusetts, Mississippi, Louisiana, and elsewhere.

         6)       These cases have resulted in agreements with at least seven cities and counties to

change their post-arrest procedures to remove secured money bail for new misdemeanor

arrestees.     See also Mitchell et al., v. City of Montgomery, 2014-cv-186 (M.D. Ala. 2014).

Mitchell involved a major investigation and landmark litigation to end widespread injustices

involving the jailing of potentially thousands of impoverished people by the City of Montgomery

over a period of many years for their non-payment of debt from old traffic tickets. 1 In my work

at Civil Rights Corps, and previously at Equal Justice Under Law, I am also Class counsel in

pending lawsuits challenging the treatment of indigent people with respect to money bond in the

municipal courts and jails of Jennings and Ferguson, Missouri, see also Jenkins et al. v. City of


1
   Counsel was also previously the lead attorney in a constitutional civil rights class action against the District of
Columbia in the United States District Court for the District of Columbia. See 1:13-cv-00686-ESH (D.D.C. 2013).
In that litigation, undersigned counsel was responsible for investigating and building the complex constitutional
claims against the District of Columbia, authoring the legal filings in the class action case, and negotiating a
Memorandum of Understanding with the District of Columbia Attorney General that stayed the class action
litigation and began to implement sweeping changes to the city’s policies and practices governing the civil forfeiture
of property by the District’s Metropolitan Police Department—procedures that affect thousands of putative class
members every year.

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Jennings, 15-cv-252-CEJ (E.D. Mo. 2015); Fant et al. v. City of Ferguson, 15-cv-253-AGF

(E.D. Mo. 2015).

       7)      Civil Rights Corps, in conjunction with the Southern Poverty Law Center and

American Civil Liberties Union, has sufficient funds available to litigate this case. Plaintiffs’

counsel have paid for all costs associated with this litigation to date, and will continue to do so.



I declare under penalty of perjury that the forgoing is true and correct to the best of my

knowledge.



______________________________                                 May 17, 2017
Alec Karakatsanis                                              Date




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                                CERTIFICATE OF SERVICE

       I hereby certify that arrangements have been made to, on this date, deliver a true and

correct copy of the foregoing by hand delivery to the following at the below addresses:

       David Cofield, Sheriff                             Hon. Jill Puckett, Magistrate
       Randolph County Sheriffs' Office                   Randolph County District Comi
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

       Christopher May, Circuit Clerk                     Hon. Clay Tinney, Judge
       Randolph County Circuit Court                      Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

Formal proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this .date, deliver a true and

correct comiesy copy of the foregoing by hand delivery and by electronic mail to the following:

       James W. "Jim" Davis, Section Chief                Jamie H. Kidd
       Constitutional Defense Section                     J. Randall McNeill
       Office of the Attorney General                     WEBB & ELEY, P.C.
       501 Washington Avenue                              P.O. Box 240909
       Montgomery, AL 36104                               Montgomery, AL 36124
       E: jimdavis@ago.state.al.us                        E: jkidd@webbeley.com
                                                          E: rmcneill@webbeley.com
       John Alvin Tinney
       Randolph County Attorney
       P.O. Box 1430
       Roanoke, AL 36274-9121
       E: j ohntinneyattorney@gmail.com

on this May 18, 2017.


                                      Samuel Brooke
